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Services, Inc. a/k/a 100TB.com


                      IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, NORTHERN DIVISION


 XAT.COM LIMITED,                        DEFENDANT’S SHORT FORM
                                         MOTION TO COMPEL PLAINTIFF’S
        Plaintiff,                       CORPORATE REPRESENTATIVE TO
                                         APPEAR FOR A DEPOSITION IN
 v.                                      UTAH

 HOSTING SERVICES, INC. A/K/A                Expedited Treatment Requested
 100TB.COM,
                                                 Case No. 1:16-cv-00092
        Defendant.                              Honorable Paul M. Warner
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        100TB respectfully requests an order compelling Xat’s corporate representative, Chris

Hart, to appear in Utah for Xat’s 30(b)(6) deposition within thirty days.1

        100TB served Xat with a Rule 30(b)(6) deposition notice designating Salt Lake City as

the place of examination. See Declaration of David. M. McMillan at ¶¶ 6, 19, Exs. A and E

(“Decl.”). Mr. Hart refuses to appear for the deposition in Utah unless it occurs around the date

of the Settlement Conference, otherwise insisting it occur in the U.K. Id. ¶¶ 12, 17, 18, 22, Exs.

D, F. But the Settlement Conference was cancelled because of Xat’s tactical filing of a “Motion

for Determination of Subject-Matter Jurisdiction[,]” see ECF No. 90; Decl. ¶¶ 20-22, and is

unlikely to be rescheduled for months, if ever.2 With trial scheduled for April 2019, the parties

cannot afford further delay to complete this necessary discovery. And the Rules require Mr. Hart

to sit for the deposition in this forum.

        100TB, as the noticing party, has the right to choose the deposition location, and Xat has

not moved for a protective order. See O’Neil v. Burton Grp., No. 2:09-CV-862 DBP, 2012 WL

5523819, at *2 (D. Utah Nov. 14, 2012) (unpublished); FED. R. CIV. P. 37(d)(2).3 Here, Salt

Lake City is the most logical, convenient, and economical place for all involved. It will cost far

less for Mr. Hart to travel to Utah than for four attorneys (two for each party), a court reporter

and videographer to travel to the U.K. Mr. Hart previously planned to travel to Utah for the



1
  100TB also requests extended briefing pursuant to DUCivR 37-1(a)(8), should the Court deem it appropriate.
2
  In his order cancelling the Settlement Conference (ECF No. 90), Magistrate Judge Pead stated that if necessary he
will coordinate a new date for the Settlement Conference after the Court rules on Xat’s motion. Xat’s motion,
however, is unlikely to be decided for some time because briefing will not be complete until December 21, 2018 at
the earliest. Further, the Settlement Conference may very soon become moot because trial is scheduled for April 3,
2019.
3
  100TB also reserves the right to move for sanctions at the appropriate time.

                                                         2
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Settlement Conference and deposition and therefore cannot claim that travel costs are

prohibitive. See Decl. ¶ 18, Ex. D; see also Decl. ¶¶ 23-24, Exs. G, H. Mr. Hart apparently

believes that traveling to Utah solely for the deposition is simply ‘not worth it.’

       As the case-initiating party, Mr. Hart must “bear the consequences caused by litigation,

which include some burdens and inconveniences.” Wagner v. Apisson, No. 2:13-CV-937

(PMW), 2014 WL 5439592, at *2 (D. Utah Oct. 24, 2014) (unpublished). Mr. Hart freely

elected to do business with 100TB pursuant to a Master Service Agreement (“MSA”) which

unequivocally designated Utah as the locus of the parties’ relationship and required that any

lawsuits arising from the MSA be brought in Utah. See ECF No. 41-14, Ex. B ¶ 17.c. Mr. Hart

thus understood that should he wish to sue 100TB, physical appearances in Utah would be

required. See, e.g., Shames v. Celebrity Cruises, Inc., No. 09-23468-CIV, 2010 WL 2867964, at

*1 (S.D. Fla. Apr. 21, 2010) (unpublished).

       While Xat’s principal place of business may be in the U.K., courts routinely require

representatives of foreign corporations to appear for depositions in the forum. See, e.g., Radian

Asset Assur., Inc. v. Coll. of Christian Bros. of New Mexico, No. CIV 09-0885 JB/DJS, 2010 WL

5150718, at *6 (D.N.M. Nov. 3, 2010) (unpublished); Water Quality Ins. Syndicate v. First Bank

of Nigeria PLC, No. CV 09-3751, 2011 WL 13202906, at *4 (E.D. La. May 5, 2011)

(unpublished). If 100TB must travel to the U.K. to depose Mr. Hart, however, the Court should

order Xat to pay 100TB’s travel and accommodations costs.




                                                  3
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                                      CERTIFICATION

       100TB certifies that it has made reasonable efforts to resolve the matters herein without

Court intervention. Respective counsel conferred by phone on August 21, 2018 at 4:00 pm MDT

and September 6, 2018 at 3:00 pm MDT, during which David McMillan and Paul Karlsgodt

attended on behalf of 100TB, and Jordan Bledsoe and David Mortensen attended on behalf of

Xat. The parties also exchanged several emails. See Decl. Exs. B, C, D, F.

DATED: November 21, 2018


                                             BAKER & HOSTETLER LLP (NY)



                                             By:    /s/ David McMillan


                                                    Attorneys for Defendant Hosting Services,
                                                    Inc., a/k/a 100TB.com




                                                4
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                                  CERTIFICATE SERVICE
        I hereby certify that on the 21st day of November 2018, I caused a true and correct copy
of the foregoing SHORT FORM MOTION TO COMPEL PLAINTIFF’S CORPORATE
REPRESENTATIVE TO APPEAR FOR A DEPOSITION IN UTAH to be served by
CM/ECF on the following:

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       Attorneys for Plaintiff Xat.com Limited



                                             /s/ David McMillan




                                                 5
